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 7
 8
                           UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
     CRAIG CUNNINGHAM,
11                                                  Case No. 8:18-cv-01093
12                       Plaintiff,
                                                    COMPLAINT FOR:
13         v.                                         1. ILLEGAL ROBOCALLING, 47
14                                                       U.S.C. § 227(b)
     PERFORMANCE SLC LLC,                             2. ILLEGAL
15
     PERFORMANCE SETTLEMENT                              TELEMARKETING, 47 U.S.C.
16   LLC, DANIEL J. CRENSHAW, and                        § 227(c)
17   DOES 1-10,                                       3. UNFAIR COMPETITION,
                                                         CAL. BUS. & PROF. CODE §§
18                                                       17200 et seq.
                         Defendants.
19
20                                                  DEMAND FOR JURY TRIAL
21
22         Plaintiff Craig Cunnginham, by his undersigned counsel, for this Complaint
23   against Defendants Performance SLC LLC, Performance Settlement LLC, Daniel
24   J. Crenshaw and Does 1-10 (collectively, “Performance” or “Defendants”), and
25   their present, former and future direct and indirect parent companies, subsidiaries,
26   affiliates and agents, alleges as follows:
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 1                                  I.    INTRODUCTION
 2         1. Nature of Action. Plaintiff brings this cases under the Telephone
 3   Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), because Defendants made at
 4   least 63 nonconsensual telemarketing calls and at least 5 nonconsensual
 5   telemarketing text messages to his residential cellular telephone, each in violation
 6   of 47 U.S.C. § 227(c), which used artificial or prerecorded voices and/or were
 7   placed by an automatic telephone dialing system (“ATDS”), in violation of
 8   47 U.S.C. § 227(b).
 9                                       II.   PARTIES
10         2. Plaintiff. Plaintiff is a natural person, a “person” as defined by 47 U.S.C.
11   § 153(39) and a citizen of the State of Texas.
12         3. SLC. Defendant Performance SLC LLC (“SLC”) is a limited liability
13   company organized under the laws of the State of California with its principal
14   place of business at 17748 Sky Park Circle, Suite 150, Irvine, California 92614. Its
15   sole member is Defendant Daniel J. Crenshaw.
16         4. Settlement. Defendant Performance Settlement LLC (“Settlement”) lis a
17   limited liability company organized under the laws of the State of California with
18   its principal place of business at 17748 Sky Park Circle, Suite 150, Irvine,
19   California 92614. Its sole member is Defendant Daniel J. Crenshaw.
20         5. Crenshaw. Defendant Daniel J. Crenshaw is a natural person and the
21   chief executive officer of SLC and Settlement with his principal place of business
22   at 17748 Sky Park Circle, Suite 150, Irvine, California 92614.
23         6. Does. The true names and capacities, whether individual, corporate,
24   associate, or otherwise, of the defendants sued herein as Does 1 through 10,
25   inclusive, are currently unknown to Plaintiff, who therefore sues these defendants
26   by such fictitious names. Plaintiff will seek leave of court to amend this Complaint
27   to reflect the true names and capacities of the defendants designated hereinafter as
28   Does when such identities become known.
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 1         7. Each of the defendants sued herein was the principal, agent, or employee
 2   of the other, and was acting within the scope of such agency or employment. Each
 3   defendant sued herein was the co-conspirator of the other and was acting within the
 4   course and scope of a conspiracy formed amongst each of them. Each defendant
 5   sued herein aided and abetted the other with the intent that each would be
 6   successful in their mutual endeavors. Each defendant sued herein received money
 7   or property as a result of the conduct described herein without consideration
 8   therefore and/or with knowledge that the money or property was obtained as a
 9   result of the wrongful conduct described herein. Each entity sued herein is a shell
10   organization, and is actually the alter ego of the other defendants sued herein.
11                         III.   JURISDICTION AND VENUE
12         8. Jurisdiction. This Court has federal-question subject matter jurisdiction
13   over Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a
14   federal statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This
15   Court has supplemental subject matter jurisdiction over Plaintiff’s claim arising
16   under California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§
17   17200 et seq., because that claim:
18                a.     arises from the same nucleus of operative fact, i.e., Defendants’
19   telemarketing robocalls to Plaintiff;
20                b.     adds little complexity to the case; and
21                c.     does not seek money damages, so it is unlikely to predominate
22   over the TCPA claims.
23         9. Personal Jurisdiction. This Court has general personal jurisdiction over
24   SLC and Settlement because each is a California LLC with its principal place of
25   business in California.
26         10. This Court has general personal jurisdiction over Mr. Crenshaw because
27   he resides in California.
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 1          11. This Court has specific personal jurisdiction over each of the Defendants
 2   because the illegal phone calls and text messages were sent by or at the direction of
 3   each from California.
 4          12. Venue. Venue is proper in this District pursuant to 28 U.S.C. §
 5   1391(b)(1)-(2) because a substantial part of the events giving rise to the claims—
 6   i.e., the architecting and execution of Defendants’ plan to send the illegal,
 7   automated, telemarketing calls and text messages—occurred in this District and
 8   because Defendants reside in this District.
 9    IV.    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47
10                                       U.S.C. § 227
11          13. In 1991, Congress enacted the TCPA in response to a growing number
12   of consumer complaints regarding telemarketing.
13          14. The TCPA makes it unlawful “to make any call (other than a call made
14   for emergency purposes or made with the prior express consent of the called party)
15   using an automatic telephone dialing system or an artificial or prerecorded voice
16   … to any telephone number assigned to a … cellular telephone service.” 47 U.S.C.
17   § 227(b)(1)(A)(iii).
18          15. The TCPA makes it unlawful “to initiate any telephone call to any
19   residential telephone line using an artificial or prerecorded voice to deliver a
20   message without the prior express consent of the called party, unless the call is
21   initiated for emergency purposes, is made solely pursuant to the collection of a
22   debt owed to or guaranteed by the United States, or is exempted by rule or order”
23   of the Federal Communication Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).
24          16. The TCPA provides a private cause of action to persons who receive
25   calls in violation of § 227(b). 47 U.S.C. § 227(b)(3).
26          17. Separately, the TCPA and regulations promulgated thereunder impose
27   consumer-protection limitations on telemarketing calls to residential and cellular
28   telephones. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200.
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 1         18. The TCPA provides a private cause of action to persons who receive
 2   calls in violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. §
 3   227(c)(5).
 4         19. According to findings of the FCC, the agency vested by Congress with
 5   authority to issue regulations implementing the TCPA, automated or prerecorded
 6   telephone calls are a greater nuisance and invasion of privacy than live solicitation
 7   calls and can be costly and inconvenient.
 8         20. The FCC requires “prior express written consent” for all autodialed or
 9   prerecorded telemarketing robocalls to wireless numbers and residential lines. In
10   particular:
11                 [A] consumer’s written consent to receive telemarketing
12                 robocalls must be signed and be sufficient to show that
13                 the consumer:     (1) received clear and conspicuous
14                 disclosure of the consequences of providing the requested
15                 consent, i.e., that the consumer will receive future calls
16                 that deliver prerecorded messages by or on behalf of a
17                 specific seller; and (2) having received this information,
18                 agrees unambiguously to receive such calls at a telephone
19                 number the consumer designates. In addition, the written
20                 agreement must be obtained without requiring, directly or
21                 indirectly, that the agreement be executed as a condition
22                 of purchasing any good or service.
23   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
24   1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks
25   omitted).
26         21. FCC regulations “generally establish that the party on whose behalf a
27   solicitation is made bears ultimate responsibility for any violations.” In the Matter
28
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 1   of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10
 2   FCC Rcd. 12391, 12397 ¶ 13 (1995).
 3          22. The FCC confirmed this principle in 2013, when it explained that “a
 4   seller … may be held vicariously liable under federal common law principles of
 5   agency for violations of either section 227(b) or section 227(c) that are committed
 6   by third-party telemarketers.” In re Dish Network, LLC, 28 FCC Rcd. 6574, 6574 ¶
 7   1 (2013).
 8          23. For TCPA purposes, a text message is a “call.” Satterfield v. Simon &
 9   Schuster, Inc., 569 F.3d 946, 951-52 (9th Cir. 2009).
10          24. A corporate officer involved in the telemarketing at issue may be
11   personally liable under the TCPA. E.g., Jackson Five Star Catering, Inc. v.
12   Beason, Case No. 10-10010, 2013 U.S. Dist. LEXIS 159985, at *10 (E.D. Mich.
13   Nov. 8, 2013) (“[M]any courts have held that corporate actors can be individually
14   liable for violating the TCPA where they had direct, personal participation in or
15   personally authorized the conduct found to have violated the statute.” (internal
16   quotation marks omitted)); Maryland v. Universal Elections, 787 F. Supp. 2d 408,
17   415-16 (D. Md. 2011) (“If an individual acting on behalf of a corporation could
18   avoid individual liability, the TCPA would lose much of its force.”).
19                           V.    FACTUAL ALLEGATIONS
20   A.     The Worsening Problem of Robocalls and Illegal Telemarketing
21          25. Unfortunately, the problems Congress identified when it enacted the
22   TCPA have grown only worse in recent years.
23          26. “Month after month, unwanted [communications], both telemarketing
24   and informational, top the list of consumer complaints received by the [Federal
25   Communications] Commission.” In re Rules and Regulations Implementing the
26   TCPA of 1991, 30 FCC Rcd. 7961, 7991 ¶ 1 (2015).
27          27. “Robocalls and telemarketing calls are currently the number one source
28   of consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July
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 1   22, 2016), https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
 2   (statement of FCC Chairman).
 3          28. “The FTC receives more complaints about unwanted calls than all other
 4   complaints combined.” Comment of the Staff of the Federal Trade Commission’s
 5   Bureau of Consumer Protection, In re Rules and Regulations Implementing the
 6   TCPA of 1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at p. 2;
 7   FCC 16-57 (June 6, 2016), available at
 8   https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-
 9   ftc-bureau-consumer-protection-federal-communications-commission-rules-
10   regulations/160616robocallscomment.pdf.
11          29. In 2017, the FTC received 4,501,967 complaints about robocalls,
12   compared with 3,401,614 in 2016. For every month in the fiscal year, robocalls
13   made up the majority of consumer complaints about Do Not Call violations.
14   Federal Trade Commission, FTC Releases FY 2017 National Do Not Call Registry
15   Data Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-
16   events/press-releases/2017/12/ftc-releases-fy-2017-national-do-not-call-registry-
17   data-book-dnc.
18          30. Recently, The New York Times reported extensively on the surging
19   number of robocall complaints filed by consumers with the FTC and widespread
20   consumer outrage about illegal telemarketing. Tara Siegel Bernard, Yes, It’s Bad.
21   Robocalls, and Their Scams, Are Surging, N.Y. Times (May 6, 2018),
22   https://www.nytimes.com/2018/05/06/your-money/robocalls-rise-illegal.html.
23   B.     Defendants’ Role in This Explosion of Illegal Robocalling
24          31. Performance purports to sell services that consolidate, negotiate or
25   eliminate debt. Solve Your Student Loans and Get on with Life, Performance SLC,
26   http://www.performanceslc.com/ (last visited June 15, 2018); Welcome to
27   Financial Freedom, Performance Settlement,
28   http://www.performancesettlement.com/ (last visited June 15, 2018).
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 1         32. People are complaining online about unsolicited telemarketing calls and
 2   texts from Defendants. E.g., Performance Settlement, Better Business Bureau,
 3   https://www.bbb.org/sdoc/business-reviews/financial-services/performance-
 4   settlement-in-irvine-ca-172009579/reviews-and-complaints?section=complaints
 5   (Sept. 27, 2018) (“This company, Performance SLC and Performance Settlement,
 6   engages is a massive fraudulent scheme of wire fraud through illegal
 7   telemar[]keting to protected and DNC registered cell phones by us[]ing a robo-
 8   dialer or ATDS in violat[io]n of 47 USC section 227(b)(1)(A). I was repeatedly
 9   called on my cell[] phone. My phone is on the do not call registry.”).
10         33. Moreover, the phone numbers that appeared as the caller IDs of the
11   phone calls from Defendants to Plaintiff are the subject of consumer complaints.
12   E.g., Student Loan Scam, Reddit,
13   https://www.reddit.com/r/Scams/comments/72oa79/student_loan_scam/ (statement
14   of Canis07) (last visited June 16, 2018) (“I’ve been getting a lot of calls from 1-
15   888-534-4656 pertaining to student loans. They leave a callback number as 1-310-
16   803-9561. When I call them, they try to ask questions about my outstanding
17   student loans (I don't have any).”); 888-534-4656 Complaints, Reported Calls,
18   https://www.reportedcalls.com/8885344656 (Oct. 2, 2017) (reporting prerecorded
19   message or robocall from (888) 534-4656 regarding debt reduction); Who Called
20   You From (949) 201-1692?, Should I Answer?,
21   https://www.shouldianswer.com/phone-number/9492011692 (last visited June 16,
22   2018) (showing a report about a “telemarketer” with “student loans” and another
23   report about a “scam call” with a “debt forgiveness program”); (714) 400-2617,
24   Security Master, https://phonenumber.cmcm.com/us/7144002617 (last visited June
25   16, 2018) (reporting “harassment”).
26         34. One of Performance’s strategies for marketing its services is placing
27   automated telemarketing text messages to those who have not consented to receive
28   such solicitations, including Mr. Cunningham.
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 1          35. One of Performance’s strategies for marketing its services is equipment
 2   that has the capacity to store or produce random or sequential telephone numbers
 3   to be called, using a random or sequential number generator.
 4          36. One of Performance’s strategies for marketing its services is placing
 5   calls with prerecorded or artificial voices to the residential cellular telephone
 6   numbers of consumers who have not provided prior express written consent to
 7   receive such telemarketing.
 8   C.     Defendants’ Illegal Robocalls to Plaintiff
 9          37. Mr. Cunningham never provided prior express written consent to receive
10   calls or text messages from Defendants.
11          38. Mr. Cunningham never provided prior express consent to receive calls or
12   text messages from Defendants.
13          39. Defendants knew that Mr. Cunningham had never provided prior express
14   written consent to receive calls or text messages from Defendants.
15          40. Defendants knew that Mr. Cunningham had never provided prior express
16   consent to receive calls or text messages from Defendants.
17          41. The total number of calls and text messages Mr. Cunningham received
18   from Defendants is unknown, because the calls were relentless, used a variety of
19   caller IDs and frequently came late at night or at other times when it was
20   inconvenient to answer. So far, Plaintiff’s investigation has revealed 63
21   nonconsensual telemarketing calls and 5 nonconsensual telemarketing text
22   messages from Performance to Plaintiff’s residential cellular telephone.
23          42. The calls and text messages sent to Mr. Cunningham advertised
24   Defendants’ services.
25          43. The advertised services were debt relief, negotiation and/or
26   consolidation.
27          44. No emergency necessitated the calls or text messages.
28          45. Each text message was sent by an ATDS.
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 1           46. Each call was placed by an ATDS.
 2           47. Most of the calls used a prerecorded or artificial voice.
 3           48. Defendants’ calls and text messages injured Plaintiff because they:
 4                  a.    interrupted him while working, spending time with family,
 5    working out and driving;
 6                  b.    invaded his privacy;
 7                  c.    annoyed him;
 8                  d.    harassed him;
 9                  e.    wasted his time;
10
                    f.    consumed his phone’s battery life; and
11
                    g.    consumed his phone’s limited data storage capacity.
12
      D.     Defendants’ Illegal Telemarketing to Plaintiff
13
             49. Plaintiff requested a copy of Settlement’s do-not-call policy. Settlement
14
      stated that it had no such policy and refused to send Plaintiff anything.
15
             50. Plaintiff requested a copy of SLC’s do-not-call policy. SLC responded
16
      that it did not know what Plaintiff was referring to and did not provide a copy of
17
      the policy.
18
             51. On information and belief, Defendants knowingly did not have a written
19
      do-not-call policy, available upon demand, while they were calling and sending
20
      text messages to Plaintiff.
21
             52. On information and belief, Defendants knowingly failed to reasonably or
22
      adequately train their agents engaged in telemarketing on the existence and use of
23
      any do-not-call list.
24
             53. Defendants knowingly made the solicitations without including therein
25
      all of the following: the name of the individual caller, the name of the person or
26
      entity on whose behalf the call is being made and/or a telephone number or address
27
      at which the person or entity may be contacted
28
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 1    E.     Mr. Crenshaw’s Control over Performance, Including its Illegal
 2           Robocalling and Telemarketing
 3           54. At all times relevant to the claims alleged herein, Mr. Crenshaw was the
 4    sole member of SLC and Settlement.
 5           55. A “Borrower Beware” report by consumer finance site Nerd Wallet
 6    associates Mr. Crenshaw with SLC, Settlement and 5 other companies, at least 2 of
 7    which use the same Irvine address as SLC and Settlement.
 8           56. Mr. Crenshaw directed the telemarketing at issue in this case.
 9           57. Mr. Crenshaw was aware that SLC and Settlement were sending
10    prerecorded robocalls and automated text messages en masse to people, including
11    Plaintiff, who had not requested to be contacted by Defendants.
12           58. As Defendants’ senior-most executive, Mr. Crenshaw had the power to
13    stop these unsolicited telemarketing campaigns.
14           59. As Defendants’ senior-most executive, Mr. Crenshaw hired, and had the
15    power to fire, the executives managing the day-to-day operations of these illegal
16    robocalling operations.
17    F.     Catalog of Calls
18           60. Due to the large volume of telemarketing by Defendants to Mr.
19    Cunningham, his investigation is ongoing. Based on what is known so far, the
20    following table summarizes the non-emergency, non-consensual telemarketing
21    calls made by or on behalf of Defendants to Mr. Cunningham’s cellular telephone.
22    This table excludes the countless number of calls that went unanswered and that
23    therefore do not appear in Plaintiff’s phone records, as well as the calls from caller
24    IDs that Plaintiff has yet to identify as belonging to Defendants.
25
26
      Date                  Caller ID              Duration                Type
27
      March 24, 2017        (888) 534-4656         19s                     Call
28
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 1    Date                Caller ID          Duration             Type
 2    March 25, 2017      (888) 534-4656     2m 9s                Call
 3    March 25, 2017      (888) 534-4656     4m 23s               Call
 4    March 25, 2017      (888) 534-4656     4m 19s               Call
 5    April 11, 2017      (714) 400-2617     32s                  Call
 6    April 12, 2017      (714) 400-2617     13s                  Call
 7    April 17, 2017      (714) 400-2617     30s                  Call
 8    April 19, 2017      (714) 400-2617     47s                  Call
 9    April 20, 2017      (714) 400-2617     51s                  Call
10    April 21, 2017      (714) 400-2617     20s                  Call
11    April 21, 2017      (714) 400-2617     3m 13s               Call
12    April 24, 2017      (714) 400-2617     30s                  Call
13
      April 25, 2017      (714) 400-2617     30s                  Call
14
      April 27, 2017      (714) 400-2617     18s                  Call
15
      April 28, 2017      (714) 400-2617     30s                  Call
16
      May 2, 2017         (714) 400-2617     7m 7s                Call
17
      May 4, 2017         (888) 534-4656     20s                  Call
18
      May 9, 2017         (949) 385-0591                          Text message
19
      May 10, 2017        (949) 385-0591                          Text message
20
      May 11, 2017        (949) 385-0591                          Text message
21
      May 12, 2017        (949) 385-0591                          Text message
22
      May 15, 2017        (949) 385-0591                          Text message
23
      May 19, 2017        (949) 201-1692     10s                  Call
24
      May 22, 2017        (949) 201-1692     31s                  Call
25
      May 22, 2017        (888) 534-4656     1m 5s                Call
26
      May 24, 2017        (949) 201-1692     46s                  Call
27
      May 25, 2017        (949) 201-1692     11s                  Call
28
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 1    Date                Caller ID          Duration             Type
 2    May 25, 2017        (949) 201-1692     6s                   Call
 3    May 25, 2017        (949) 201-1692     3s                   Call
 4    May 25, 2017        (949) 201-1692     25s                  Call
 5    May 25, 2017        (949) 201-1692     6s                   Call
 6    May 25, 2017        (949) 201-1692     1s                   Call
 7                                           Unknown; on
 8                                           information and
 9                                           belief, the caller
10                                           promptly dropped
11    May 25, 2017        (949) 201-1692     the call             Call
12    May 26, 2017        (949) 201-1692     36s                  Call
13    May 30, 2017        (949) 201-1692     21s                  Call
14    May 30, 2017        (949) 201-1692     1s                   Call
15    May 31, 2017        (949) 201-1692     10s                  Call
16    June 1, 2017        (949) 201-1692     14s                  Call
17
      June 2, 2017        (949) 201-1692     21s                  Call
18
      June 6, 2017        (949) 201-1692     37s                  Call
19
      June 8, 2017        (949) 201-1692     21s                  Call
20
      June 14, 2017       (949) 201-1692     23s                  Call
21
      June 19, 2017       (949) 201-1692     9s                   Call
22
      June 20, 2017       (949) 201-1692     23s                  Call
23
      June 22, 2017       (949) 201-1692     18s                  Call
24
      July 7, 2017        (949) 201-1692     30s                  Call
25
      July 7, 2017        (949) 201-1692     30s                  Call
26
      July 11, 2017       (949) 201-1692     30s                  Call
27
      July 12, 2017       (949) 201-1692     30s                  Call
28
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 1    Date                  Caller ID             Duration               Type
 2    July 14, 2017         (949) 201-1692        30s                    Call
 3    July 18, 2017         (949) 201-1692        6s                     Call
 4    July 20, 2017         (949) 201-1692        6s                     Call
 5    July 24, 2017         (949) 201-1692        28s                    Call
 6    July 28, 2017         (949) 201-1692        22s                    Call
 7    August 4, 2017        (929) 201-3145        32s                    Call
 8    August 4, 2017        (888) 534-4656        13s                    Call
 9    August 10, 2017       (888) 534-4656        20s                    Call
10    August 11, 2017       (888) 534-4656        21s                    Call
11    August 16, 2017       (888) 970-4329        50s                    Call
12    August 22, 2017       (888) 534-4656        5s                     Call
13
      August 22, 2017       (888) 534-4656        5s                     Call
14
      August 22, 2017       (888) 534-4656        5s                     Call
15
      August 22, 2017       (888) 534-4656        5s                     Call
16
      August 24, 2017       (888) 534-4656        5s                     Call
17
      August 25, 2017       (949) 201-1692        5s                     Call
18
      August 26, 2017       (888) 534-4656        5s                     Call
19
      August 30, 2017       (888) 534-4656        5s                     Call
20
      August 30, 2017       (888) 534-4656        4s                     Call
21
                            VI.    FIRST CLAIM FOR RELIEF
22
                           (Illegal Robocalling, 47 U.S.C. § 227(b))
23
                                   (Against All Defendants)
24
             61. Plaintiff realleges and incorporates by reference each and every
25
      allegation set forth in the preceding paragraphs.
26
             62. The foregoing acts and omissions of Defendants and/or their affiliates or
27
      agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1), by
28
                                        - 14 -
                                       COMPL.
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 1    making non-emergency telemarketing robocalls to Plaintiff’s cellular telephone
 2    number without his prior express written consent.
 3           63. Plaintiff is entitled to an award of at least $500 in damages for each such
 4    violation. 47 U.S.C. § 227(b)(3)(B).
 5           64. Plaintiff is entitled to an award of up to $1,500 in damages for each such
 6    knowing or willful violation. 47 U.S.C. § 227(b)(3) (hanging paragraph).
 7           65. Plaintiff also seeks a permanent injunction prohibiting Defendants and
 8    their affiliates and agents from making non-emergency robocalls to cellular
 9    telephone numbers advertising debt negotiation services without the prior express
10    written consent of the called party.
11                        VII.     SECOND CLAIM FOR RELIEF
12                        (Illegal Telemarketing, 47 U.S.C. § 227(c))
13                                  (Against All Defendants)
14           66. Plaintiff realleges and incorporates by reference each and every
15    allegation set forth in the preceding paragraphs.
16           67. On information and belief, the foregoing acts and omissions of
17    Defendants and/or their affiliates or agents constitute multiple violations of FCC
18    regulations by making telemarketing solicitations despite lacking:
19                 a.     a written policy, available upon demand, for maintaining a do-
20    not-call list, in violation of 47 C.F.R. § 64.1200(d)(1);
21                 b.     training for the individuals involved in the telemarketing on the
22    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);
23    and,
24                 c.     in the solicitations, the name of the individual caller, the name
25    of the person or entity on whose behalf the call is being made and/or a telephone
26    number or address at which the person or entity may be contacted, in violation of
27    47 C.F.R. § 64.1200(d)(4).
28
                                        - 15 -
                                       COMPL.
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 1          68. On information and belief, had Defendants abided by the requirements
 2    of 47 C.F.R. § 64.1200(d), they would not have sent Plaintiff the illegal
 3    telemarketing.
 4          69. Plaintiff is entitled to an award of at least $500 in damages for each such
 5    violation. 47 U.S.C. § 227(c)(5)(B).
 6          70. Plaintiff is entitled to an award of up to $1,500 in damages for each such
 7    knowing or willful violation. 47 U.S.C. § 227(c)(5) (hanging paragraph).
 8          71. Plaintiff also seeks a permanent injunction prohibiting Defendants and
 9    their affiliates and agents from making telemarketing solicitations until and unless
10    they (1) implement a do-not-call policy, available upon demand, and training
11    thereon and (2) include the names of the individual caller and the entity on whose
12    behalf the call is being made and a call-back number in every solicitation.
13                        VIII.    THIRD CLAIM FOR RELIEF
14             (Unfair Competition, Cal. Bus. & Prof. Code §§ 17200 et seq.)
15                                 (Against All Defendants)
16          72. Plaintiff realleges and incorporates by reference each and every
17    allegation set forth in the preceding paragraphs.
18          73. Defendants’ TCPA violations were committed in the State of California
19    and targeted consumers and businesses across the country, including in the State of
20    California, in violation of the “unlawful” prong of the UCL. See O’Connor v. Lyft,
21    Inc., No. 16-cv-00351-JSW, 2016 U.S. Dist. LEXIS 153705, at *14-15 (N.D. Cal.
22    Apr. 14, 2016) (violating the TCPA violates the UCL).
23          74. Additionally, Defendants’ misconduct violated the “unfair” prong of the
24    UCL. It was unfair for Mr. Cunningham’s private life and family time to be
25    interrupted by automated telemarketing dozens of times. The safety risk posed by
26    unscheduled and unsolicited calls and text messages to Mr. Cunningham and his
27    family while he was driving was unfair. It is unfair that legitimate and law-abiding
28    student loan services have to compete against Defendants, ultimately harming
                                        - 16 -
                                       COMPL.
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 1    consumers. Given that the unfair prong of the UCL “is intentionally broad, thus
 2    allowing courts maximum discretion,” State Farm Fire & Casualty Co. v. Superior
 3    Court, 45 Cal. App. 4th 1093, 1103 (2d Dist. 1996), Defendants’ harassment
 4    would have violated the UCL even in the absence of the TCPA.
 5           75. Mr. Cunningham seeks a permanent injunction prohibiting Defendants
 6    and their affiliates and agents from continuing to violate the UCL by sending
 7    unsolicited telemarketing calls or text messages from or to the State of California.
 8           76. Such an injunction will enforce an important right affecting the public
 9    interest and confer a significant benefit, whether pecuniary or non-pecuniary, on a
10    large class of persons. Private enforcement is necessary and places a
11    disproportionate financial burden on Plaintiff in relation to Plaintiff’s stake in the
12    matter, because the fraction of Defendants’ illegal telemarketing that was directed
13    to Plaintiff is, unfortunately, tiny.
14                               IX.     PRAYER FOR RELIEF
15           WHEREFORE, Plaintiff Craig Cunningham prays for judgment against
16    Defendants as follows:
17           A.     Leave to amend this Complaint to name Does as they are identified
18    and to conform to the evidence presented at trial;
19           B.     A declaration that actions complained of herein by Defendants violate
20    the TCPA and the UCL;
21           C.     An order enjoining Defendants and their affiliates and agents from
22    engaging in the unlawful conduct set forth herein;
23           D.     An award of $204,000 in statutory damages arising from Defendants’
24    68 knowing or willful violations of 47 U.S.C. § 227(b) and 68 knowing or willful
25    violations of 47 U.S.C. § 227(c);
26           E.     An award to Mr. Cunningham of damages, as allowed by law under
27    the TCPA;
28
                                        - 17 -
                                       COMPL.
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 1            F.    An award to Mr. Cunningham of interest, costs and attorneys’ fees, as
 2    allowed by law, equity and/or California Code of Civil Procedure section 1021.5;
 3    and
 4            G.    Such further relief as the Court deems necessary, just, and proper.
 5                                X.    DEMAND FOR JURY
 6            Mr. Cunningham demands a trial by jury for all issues so triable.
 7
 8            RESPECTFULLY SUBMITTED AND DATED this 20th day of June,
 9    2018.
10
                                       By:    s/ Jon Fougner
11
                                              Attorney for Plaintiff
12                                            E-mail: Jon@FougnerLaw.com
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                                       COMPL.
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